Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 1 of 22 PageID 240




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

TAMPA BAY WATERKEEPER, OUR
CHILDREN’S EARTH FOUNDATION
and SUNCOAST WATERKEEPER,

       Plaintiffs,                                Civil Case No. 8:20-cv-01742-CEH-AAS

v.

CITY OF LARGO, FLORIDA,

      Defendant.
________________________________/

          DEFENDANT, CITY OF LARGO’S AMENDED ANSWER AND
            AFFIRMATIVE DEFENSES TO PLAINTIFFS’ AMENDED
       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF (Dkt. 9)

       Defendant, CITY OF LARGO (“Largo”, “Defendant”, or “City”), hereby responds to the

correspondingly numbered allegations of the Plaintiffs’ Amended Complaint for Declaratory and

Injunctive Relief and Civil Penalties (Dkt. 9), and alleges as follows:

       1)      It is admitted that this suit has been brought under the provisions of the Federal

Clean Water Act, 33 U.S.C. §§ 1251, etc., (“Clean Water Act” or “CWA”). It is denied that this

Court has subject matter jurisdiction over the parties and this action as alleged.

       2)      It is admitted that on May 29, 2020, the Plaintiffs issued a Notice Letter to Largo.

It is denied that each of the discharge occurrences identified within the Notice Letter constitute a

violation of the Clean Water Act. It is denied that the Notice Letter adequately addresses all of

the issues raised in the Amended Complaint and in that respect the Notice Letter is not adequate

under the provisions of the CWA. With respect to the remaining allegations of paragraph 2, the

Defendant is without knowledge as to the veracity of the statements made by Plaintiffs and

denies same.
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 2 of 22 PageID 241




       3)     Admitted.

       4)     Denied.

       5)     Admitted that venue is proper in the Middle District of Florida, Tampa Division.

       6)     It is admitted that the Plaintiffs have alleged violations as characterized in

paragraph 6. The occurrence of those violations is Denied.

       7)     Denied.

       8)     Denied.

       9)     Denied.

       10)    Denied.

       11)    Denied.

       12)    Denied.

       13)    Denied.

       14)    Denied.

       15)    Denied.

       16)    Denied.

       17)    Denied.

       18)    Denied.

       19)    Denied.

       20)    Admitted.

       21)    Denied.

       22)    Admitted.

       23)    Admitted.

       24)    Denied.



                                               2
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 3 of 22 PageID 242




       25)     Admitted.

       26)     Admitted.

       27)     Admitted.

       28)     Denied.

       29)     Denied.

       30)     Denied.

       31)     Denied.

       32)     Denied.

       33)     It is admitted that Tampa Bay and the Gulf of Mexico are waters of the United

States. It is further admitted that other water bodies, streams, or tributaries in or adjoining Largo

may have connections to the Waters of the United States. The remaining allegations of paragraph

33 are Denied. The term “Receiving Waters” as used in the Amended Complaint has not been

defined sufficiently. Many of the SSOs, identified in the Amended Complaint, do not reflect

discharges into the Waters of the United States.

       34)     Admitted.

       35)     Denied.

       36)     Denied.

       37)     Denied.

       38)     Denied.

       39)     Denied.

       40)     Denied.

       41)     Denied.

       42)     Denied.



                                                   3
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 4 of 22 PageID 243




       43)       Denied.

       44)       Denied.

       45)       The location of Cross Bayou is admitted. The remaining allegations of Paragraph

45 are denied.

       46)       Denied.

       47)       Denied. The Defendant is without knowledge of the nature and extent of the

injuries allegedly suffered to the Members of the Plaintiffs’ organizations. As such, Defendant

denies the standing of the Plaintiffs’ organizations to the extent they rely upon injury suffered by

their Members. Further, Defendant demands proof that all alleged illegal discharges are within

the subject matter jurisdiction of this Court under the Clean Water Act, 33. See, Section 1311(a).

       48)       The section cited speaks for itself.

       49)       The section cited speaks for itself.

       50)       The section cited speaks for itself.

       51)       The section cited speaks for itself.

       52)       The section cited speaks for itself.

       53)       Admitted.

       54)       Admitted that various NPDES permits have been issued to the City.

       55)       Denied.

       56)       Admitted.

       57)       Admitted.

       58)       Admitted.

       59)       Denied.

       60)       Denied.



                                                   4
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 5 of 22 PageID 244




       61)     Denied.

       62)     The content of sections of the Clean Water Act referenced is admitted. The

remaining allegations of this paragraph are denied.

       63)     The content of sections of the Clean Water Act referenced is admitted. The

remaining allegations of this paragraph are denied. The Defendant claims entitlement to recover

litigation costs, including attorneys’ and expert fees, pursuant to the referenced section.

       64)     Denied.

       65)     Admitted.

       66)     Admitted.

       67)     Denied.

       68)     Denied.

       69)     Denied.

       70)     Denied.

       71)     Denied.

       72)     The content of sections of the Clean Water Act referenced is admitted. The

remaining allegations of this paragraph are denied.

       73)     Denied.

       74)     Denied.

       75)     The content of sections of the Clean Water Act referenced is admitted. The

remaining allegations of this paragraph are denied.

       76)     Denied.

       77)     Denied.




                                                  5
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 6 of 22 PageID 245




        78)     The content of the section referenced is admitted. The remaining allegations of

this paragraph are denied.

        79)     Denied.

        80)     Admitted that the City has reported numerous unpermitted overflow discharges of

raw and/or partially treated sewerage from its WWTF and WCTS. The remaining allegations of

this paragraph are denied.

        81)     Denied.

        82)     Denied.

        83)     Denied.

        84)     Denied.

        85)     Denied. It is denied that the list of discharges identified in Exhibit 2 constitute

violations of the Clean Water Act and are the proper subject of the jurisdiction of this Court or

the basis of a claim by the Plaintiffs.

        86)     Denied.

        87)     Denied.

        88)     Denied.

        89)     Denied.

        90)     Denied.

        91)     Denied.

        92)     Denied.

        93)     The content of the section referenced is admitted. The remaining allegations of

this paragraph are denied.

        94)     Denied.



                                                 6
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 7 of 22 PageID 246




       95)     Admitted.

       96)     Denied.

       97)     It is admitted that the MS4 serves the general area also served by the WCTS. It is

admitted that the MS4 system contains numerous storm drain inlets that are connected by outfall

to Waters of the United States. Denied that all SSOs that discharge into the MS4 system

constitute violations of the Clean Water Act.

       98)     Denied.

       99)     Admitted.

       100)    The terms of the permit speak for themselves and are incorporated herein by

reference in response to paragraph 100.

       101)    The terms of the permit speak for themselves and are incorporated herein by

reference in response to this paragraph.

       102)    The terms of the permit speak for themselves and are incorporated herein by

reference in response to this paragraph.

       103)    The terms of the permit speak for themselves and are incorporated herein by

reference in response to this paragraph.

       104)    Denied.

       105)    Denied.

       106)    Denied.

       107)    Denied.

       108)    Denied.

       109)    Denied.




                                                7
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 8 of 22 PageID 247




       110)    The content of the section referenced is admitted. The remaining allegations of

this paragraph are denied.

       111)    Denied.

       112)    Admitted.

       113)    The terms of the permit speak for themselves and are incorporated herein by

reference in response to this paragraph. The remaining allegations of this paragraph are denied.

       114)    The terms of the permit speak for themselves and are incorporated herein by

reference in response to this paragraph. The remaining allegations of this paragraph are denied.

       115)    Denied.

       116)    Denied.

       117)    Denied.

       118)    Denied.

       119)    Denied.

       120)    Denied.

       121)    Denied.

       122)    The content of the section referenced is admitted. The remaining allegations of

this paragraph are denied.

       123)    Denied.

       124)    The Defendant denies the facts set forth in the Amended Complaint and

challenges the jurisdiction of this Court with respect to the discharges alleged within the

Amended Complaint. Defendant prays that Plaintiffs be denied the relief requested in this

paragraph and Defendant demands strict proof of all allegations set forth in the Amended




                                                8
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 9 of 22 PageID 248




Complaint. Defendant further claims entitlement to recover litigation costs, including attorneys’

fees and experts’ costs as provided by Section 505(d), 33 U.S.C. Sec. 1365(d).

                               FIRST AFFIRMATIVE DEFENSE

       The Court is without jurisdiction over this case as the City of Largo (“Largo”) has paid

penalties for certain violations and taken other actions pursuant to final Consent Orders, not

subject to judicial review. Thus, all claims for which Largo has paid such a penalty and taken

other action are subject to the citizen-suit bar. 33 U.S.C. § 319(g)(6)(A)(ii) & (iii). Additionally,

Plaintiffs’ citizen suit is also precluded by the §1319(g)(6)(A)(ii) statutory bar on citizen suits, as

the Florida Department of Environmental Protection (“FDEP”) has commenced and is diligently

prosecuting administrative enforcement actions with respect to the violations in the Plaintiffs’

Amended Complaint (the “Complaint”) under a state law “comparable” to the federal Clean

Water Act (“CWA”). The FDEP has undertaken to enforce its permits and agency rules

promulgated under the CWA through Consent Order No. 03-0666, effective April 10, 2006, and

subsequent amendments to the original Consent Order including, the First Amendment to the

Consent Order, effective August 4, 2009 (“First Amendment”), the Second Amendment to the

Consent Order, effective September 18, 2012 (“Second Amendment”), the Third Amendment to

the Consent Order, effective May 6, 2016 (“Third Amendment”), the Fourth Amendment to the

Consent Order, effective January 19, 2018 (“Fourth Amendment”), the Fifth Amendment to the

Consent Order, effective November 21, 2018 (“Fifth Amendment”) and the Sixth Amendment to

the Consent Order, effective May 14, 2019 (“Sixth Amendment”) and the Seventh Amendment

to the Consent Order dated September 3, 2020. See also; FDEP Stipulated Penalty Letter Nov.

17, 2020 Re: Executed Consent Order OCG File No. 03-0666; FDEP Facility ID No.

FL0026603. (Collectively referred to as “Consent Orders”.)



                                                  9
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 10 of 22 PageID 249




        The Consent Orders between FDEP and Largo mandate the payment of penalties and

 require Largo to take significant corrective and preventive actions within the mandated timelines,

 to adequately address all the same violations alleged in Plaintiffs’ Amended Complaint. These

 actions have addressed the underlying causes of the alleged violations to assure that past

 violations are not repeated in the future. Therefore, the State of Florida (or FDEP) has initiated

 and is diligently pursuing enforcement proceedings in a comparable action that the Administrator

 or EPA could take, precluding this citizen suit. For these same reasons, Plaintiffs cannot

 demonstrate standing to pursue this CWA citizen suit.

        Further, the Court should not issue injunctive relief to the extent that the regulation of the

 Largo Wastewater Collection System, Wastewater Reclamation System and MS4 system have

 been undertaken by the FDEP. The FDEP Consent Orders together with ongoing enforcement

 actions and regulatory oversite are sufficient to address the past violations and assure that

 violations will not occur in the future.     The Court should defer to the agency (FDEP) to

 determine the sufficiency of the remedial action required and the appropriate civil penalties.

        An award of a civil penalty or injunction would be to expose Largo to injunctive and

 punitive relief twice for the same violations. If Plaintiffs’ entire citizen suit is not barred, any

 penalties assessed in this action should be reduced by those funds spent in compliance with the

 Consent Orders and any penalties paid. To that end, the actions taken by the Largo and the

 penalties paid should be considered in mitigation of any penalties sought by the Plaintiffs herein.

                             SECOND AFFIRMATIVE DEFENSE

        Plaintiffs fail to state a claim under the CWA as to some of the incidents alleged to be

 violations because they cannot establish such incidents constitute a continuing violation or that

 there is a likelihood of continued violations. The CWA does not authorize private citizen suits



                                                 10
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 11 of 22 PageID 250




 for wholly past violations. There is no likelihood of continued violations with respect to any

 particular incident or specific parameter. As such, the Court is without jurisdiction to impose a

 penalty or injunctive relief as the alleged violations do not constitute a continuing violation as

 contemplated by the CWA.

         Additionally, the Plaintiffs fail to state a claim under the CWA for the alleged violations

 of the 2012 and 2019 NPDES Permits (referenced in their Complaint) as they are wholly past

 violations. Those permits are no longer in effect and have been superseded by the Modified

 NPDES Permit No. FL0026603-14 (“Modified NPDES Permit”). On May 28, 2020, Largo

 applied to FDEP to revise its NPDES permit to operate in 18 MGD domestic wastewater

 treatment facility permitted to discharge 15 MGD of effluent to Feather Sound. On July 14,

 2020, FDEP issued a Notice of Draft Permit. See FDEP File Number FL0026603014-

 DW1P/RO. The Modified NPDES Permit has since become final and effective. This affirmative

 defense is applicable whether it is determined that the Modified NPDES Permit was

 final/effective:

         1) prior to the filing of Plaintiffs’ complaint in this action—in which case Plaintiffs’

 request for civil penalties and injunctive relief fails to meet the requirements of standing; or,

         2) at some point after the filing of Plaintiffs’ complaint in, but during the pendency of,

 this action—in which case many of Plaintiffs’ claims fail for becoming moot. Environmental

 Conservation Organization v. City of Dallas, 529 F.3d 519 (5th Cir.2008); Louisiana Envtl.

 Action Network v. City of Baton Rouge, 677 F.3d 737, 744–45 (5th Cir. 2012); Friends of the

 Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 120 S. Ct. 693, 708–09, 145 L.

 Ed. 2d 610 (2000).




                                                  11
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 12 of 22 PageID 251




           There is no likelihood of continued violations as alleged due to the fact that FDEP’s

 issuance of a Modified NPDES Permit completely eradicated the risk of any continued violation

 by Largo of any NPDES permit term or limit no longer in effect. The Modified NPDES Permit

 replaces and supersedes the 2012 and 2019 NPDES Permit (No. FL0026603-13) (“Prior NPDES

 Permit”) which serves as the basis for this citizen suit. The Modified NPDES Permit adds

 additional treatment and alters the effluent limitation terms for the Largo WWTF. Therefore,

 there can be no future or ongoing violations of the CWA based on an alleged violation of

 effluent terms in the prior NPDES Permit.          Plaintiffs have not alleged, in their Amended

 Complaint or their 60-day notice letter, any violations of the effluent terms in the Modified

 NPDES Permit, only the Prior NPDES Permit which has been superseded and no longer in

 effect.

           Similarly, to the extent that the cause of any alleged violation/discharge is addressed by

 FDEP and its Consent Orders such that that there is no likelihood of continued violations, those

 discharges are also not violations of the CWA.

                                THIRD AFFIRMATIVE DEFENSE

           The Court lacks subject matter jurisdiction to hear this action because the 60-

 day notice of intent provision in the CWA has not been satisfied by the Plaintiffs. The required

 contents of a CWA notice of intent letter are outlined in U.S. EPA regulations, which mandate

 that such notice “shall include sufficient information to permit the recipient to identify the

 specific standard, limitation or order alleged to have been violated, the activity alleged to

 constitute a violation, the person or persons responsible for the alleged violation, the location of

 the alleged violation, and the full name, address, and telephone number of the person giving

 the notice.” See 40 C.F.R. § 135.3(a).



                                                   12
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 13 of 22 PageID 252




        The CWA's notice requirement is to be strictly construed. Nat'l Parks and Conservation

 Ass'n v. Tenn. Valley Auth., 502 F.3d 1316, 1329 (11th Cir. 2007). The Plaintiffs have failed to

 satisfy this requirement as their 60-day notice letter fails to “include sufficient information to

 permit” Largo “to identify the specific standard, limitation or order alleged to have been

 violated.” Their notice letter alleges violations of standards/limitations in NPDES Permit No.

 FL0026603- 013-DW1P/NR (“2019 NPDES Permit”) and NPDES Permit No. FL0026603-007-

 DW1/NR (“2012 NPDES Permit”) as follows:

        1. “All discharges in excess of the TN limit of 19 tons/year (5-Year Average)
           since March 2019 (which is when the 2019 NPDES Permit limits began to
           apply) are actionable violations of the 2019 NPDES Permit and the CWA”;
        2. “All discharges in excess of the 2019 NPDES Permit limit of 22 ug/L
           Dichlorobromomethane since March 2019 (which is the month when the 2019
           NPDES Permit limits began to apply) are actionable violations of the 2019
           NPDES Permit and the CWA”; and
        3. “All discharges in violation of the fecal coliform minimum detection limit
           since July 2015 are actionable violations of the City’s 2012 and 2019 NPDES
           Permits and the CWA”.

 As such, the notice does not provide specific information related to the alleged discharges.

 Additionally, the 2012 and 2019 NPDES Permits have been superseded and are no longer in

 effect. Plaintiffs’ 60-day notice letter does not allege any violations of the standards or

 limitations of the current NPDES Permit No. FL0026603-014-DW1P/NR. Public notice was

 published in August of 2020 and that permit is final and effective. Therefore, the Plaintiffs’

 notice fails to satisfy the CWA’s notice requirement.

                             FOURTH AFFIRMATIVE DEFENSE

        Largo is entitled to the permit shield affirmative defense because many of the discharges

 alleged by the Plaintiffs to be violations are authorized by Largo’s NPDES permit. Under the

 permit shield doctrine set forth in the CWA, compliance with a permit constitutes an exception to


                                                13
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 14 of 22 PageID 253




 the general strict liability of the CWA. Thus, an NPDES permit holder is shielded from CWA

 liability for discharges in compliance with its permit. Compliance is a broader concept than

 merely obeying the express restrictions set forth on the face of the NPDES permit; all discharges

 adequately disclosed to the permitting authority and reasonably anticipated by, or within the

 reasonable contemplation of, the permitting authority are also within the scope of the permit's

 protection. Thus, Largo is exempted from liability for any discharges in compliance with the

 express terms of its NPDES permit, as well as for any discharges adequately disclosed to and

 reasonably anticipated by, or within the reasonable contemplation of, FDEP (the permitting

 agency).

        Similarly, to the extent that the Plaintiffs have claimed violations related to the MS4

 system and those discharges were in compliance with MS4 Permit No. FLS000005-004 or MS4

 Permit No. FLS000005-003 (whichever was in effect at the time of the alleged violation) or its

 NPDES permit, those discharges are also not violations of the CWA nor are they the proper basis

 for citizen suits and, accordingly, claims for those violations should also be denied.

                               FIFTH AFFIRMATIVE DEFENSE

        Some of the incidents alleged by the Plaintiffs to be violations were the result of Acts of

 God. Thus, Largo is not liable for the violation as it could not prevent the discharge and should

 not be subjected to penalties and injunctive relief for those violations. That fact should be

 considered in connection with both the assessment of penalty and imposition of injunctive relief.

        Additionally, certain events which led to some of the SSOs described in the Plaintiffs’

 Amended Complaint as being violations of the Clean Water Act, are excused by DEP and EPA

 regulations because they are considered exceptional and result in unintentional and temporary

 non-compliance with applicable effluent limitations due to factors beyond the control of Largo.



                                                  14
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 15 of 22 PageID 254




 See, Florida Administrative Code Rule 62-620.610(23), 62- 620.200(55); 40 C.F.R. § 122.41(n).

 Largo has promptly responded in an appropriate fashion in these situations and may not be held

 liable beyond the corrective measures already taken or agreed to in the FDEP Consent Orders.

                                SIXTH AFFIRMATIVE DEFENSE

        Defendant is entitled to the upset defense because some of the incidents alleged by the

 Plaintiffs to be violations were an exceptional incident in which there was unintentional and

 temporary noncompliance with technology-based effluent limitations because of factors beyond

 the reasonable control of the City. The affirmative defense of “upset” derives from the

 regulations implementing the NPDES permitting program, see 40 C.F.R. § 122.41, which

 provides certain conditions that are incorporated into all issued NPDES permits. Among the

 conditions expressly incorporated into both the prior NPDES Permit (No. FL0026603-013) and

 the Modified NPDES Permit (No. FL0026603-014) is the affirmative defense of “upset,” which

 is defined in the regulation as:

        [A]n exceptional incident in which there is unintentional and temporary
        noncompliance with technology based permit effluent limitations because of
        factors beyond the reasonable control of the permittee. An upset does not include
        noncompliance to the extent caused by operational error, improperly designed
        treatment facilities, inadequate treatment facilities, lack of preventive
        maintenance, or careless or improper operation.

 40 C.F.R. § 122.41(n). Both versions of Largo’s NPDES Permit also provide that “an upset

 constitutes an affirmative defense to an action brought for noncompliance with technology based

 permit effluent limitations if the requirements of upset provisions of Rule 62-620.610, F.A.C.,

 are met.” Thus, subject to proof of upset and to the extent that the Court accepts jurisdiction

 related to violations of prior permits, such exceedances are excused from constituting violations

 of the NPDES Permit by its plain language and by reference to and operation of 40 C.F.R. §

 122.41(n).

                                                15
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 16 of 22 PageID 255




                             SEVENTH AFFIRMATIVE DEFENSE

        Not all wastewater discharges that are received and conveyed by Largo’s storm water

 sewer systems, “MS4”, are discharges to waters of the United States. Because of in-line storage

 and treatment capacity, coupled with residency time within the system, some releases do not

 become discharges of untreated wastewater or discharges at all to waters of the United States and

 are not therefore violations over which this Court has jurisdiction under the Clean Water Act.

 Further, to the extent that an SSO identified by the Plaintiffs as a violation of the Clean Water

 Act has not discharged pollutants into the waters of the United States or are not likely to reoccur,

 no violation of the Clean Water Act has occurred, and the Court is without jurisdiction and Largo

 is without liability under the Act.

                              EIGHTH AFFIRMATIVE DEFENSE

        Plaintiffs fail to state a cause of action for alleged violations of state water quality

 standards unless such standards are incorporated into the NPDES permit and the challenged

 action also constitutes a violation of a NPDES permit term. Further, the Court is without

 jurisdiction to hear citizen suit claims for any alleged discharges in the Amended Complaint that

 do not constitute violations of an effluent standard or limitation under Title 33 U.S.C. §1365.

                               NINTH AFFIRMATIVE DEFENSE

        Some of Plaintiffs’ claims are barred by the bypass defense set forth in 40 C.F.R.

 122.41(m)(4)(i). Further, Largo is not subject to CWA liability for any bypasses which, were in

 compliance with the bypass provisions in Largo’s NPDES permit, which provide in relevant part:

               e. A permittee may allow any bypass to occur which does not cause
        reclaimed water or effluent limitations to be exceeded if it is for essential
        maintenance to assure efficient operation. These bypasses are not subject to the
        provisions of Permit Condition IX.22.b. through d. of this permit.

        and

                                                 16
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 17 of 22 PageID 256




               b. Bypass is prohibited, and the Department may take enforcement action
        against a permittee for bypass, unless the permittee affirmatively demonstrates
        that:

               (1) Bypass was unavoidable to prevent loss of life, personal injury, or
        severe property damage; and

                (2) There were no feasible alternatives to the bypass, such as the use of
        auxiliary treatment facilities, retention of untreated wastes, or maintenance during
        normal periods of equipment downtime. This condition is not satisfied if adequate
        back-up equipment should have been installed in the exercise of reasonable
        engineering judgment to prevent a bypass which occurred during normal periods
        of equipment downtime or preventive maintenance; and

               (3) The permittee submitted notices as required under Permit Condition
        IX.22.c. of this permit.

                              TENTH AFFIRMATIVE DEFENSE

        The City is entitled to a reduction in the amount of civil penalties based on the mitigating

 factors set forth in 33 U.S.C. § 1319(d). The amount of the any penalty sought in this case

 should be reduced or denied for the following reasons: (1) many of the alleged “violations” are in

 compliance with Largo’s NPDES permit requirements or addressed by the FDEP in its Consent

 Orders and enforcement actions; (2) the nature, circumstances, extent and/or gravity of the

 alleged violations are not sufficient to support and warrant such an assessment of penalty; (3) the

 amount of the penalty proposed does not fairly or reasonably consider and reflect Largo’s ability

 to pay the penalty proposed, and exceeds the ability of the respondent to pay such proposed

 penalty; (4) Largo’s culpability, if any, is minimal for the alleged violations; (5) there exists no

 economic benefit or savings accruing to Largo by virtue of the alleged violations; (6) Largo has

 already paid penalties/fines related to the same alleged violations pursuant to FDEP Consent

 Orders; (7) Largo has constructed and implemented into the facility's waste treatment system

 new treatment ponds to improve, aid and facilitate compliance with the mandates of the NPDES

 permit, and to prevent and avert accidents constituting violations of the NPDES permit. By
                                                 17
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 18 of 22 PageID 257




 asserting this matter, respondent does not admit any violations of the NPDES permit, and to the

 contrary, denies any and all allegations of any violation; and (8) Largo took all reasonable steps

 to minimize and prevent the alleged violations; by asserting this matter, respondent does not

 admit any violations of the NPDES permit, and to the contrary, denies any and all allegations of

 any violation.

                              ELEVENTH AFFIRMATIVE DEFENSE

           Some of Plaintiffs’ claims are barred by the five-year statute of limitations set forth in 28

 U.S.C. § 2462. As such, any violations complained of by the Plaintiffs which occurred five years

 before the notice of the violations were filed with the Environmental Protection Agency are time

 barred.

                               TWELFTH AFFIRMATIVE DEFENSE

           Plaintiffs lack standing to bring this action because they have not suffered an “injury-in-

 fact” which is concrete and particularized and actual or imminent, not conjectural, or

 hypothetical, nor have they established causation or redressability.

                             THIRTEENTH AFFIRMATIVE DEFENSE

           Some of the alleged violations identified by the Plaintiffs occurred as the result of the

 conduct of third parties which was beyond the control of Largo. For example, damage caused

 accidently or intentionally to the system by third parties may have resulted in the release of

 wastewater. Largo may not appropriately be held liable or accountable for such events.

 Additionally, to the extent that said third parties contributed to any particular violation then that

 fact should be taken into consideration in the assessment of penalties and the imposition of

 injunctive relief. Further, to the extent that those events are not likely to reoccur they should not

 provide a basis for Clean Water Act enforcement by citizen suit.



                                                    18
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 19 of 22 PageID 258




        Additionally, some of the violations alleged in the Amended Complaint, were solely,

 directly, and proximately caused, or alternatively, contributed to, by the misconduct, negligence,

 or wrongful conduct of a third party or parties whose identities are not now known by Largo.

 Therefore, Largo requests that in the event Plaintiffs recover against Largo, whether by

 settlement or judgment, an apportionment of fault be made by the Court or jury as to all parties,

 pursuant to the Clean Water Act and/or other applicable law. Accordingly, Largo further requests

 a judgment and declaration of indemnification and contribution against all those parties or

 persons.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        Some, if not all, of Plaintiffs’ claims are barred by the doctrine of laches, because

 Plaintiffs’ unexcused delay in filing suit, if the suit were allowed, would be prejudicial to Largo.

 The FDEP has engaged and is continuing to pursue enforcement action designed to correct the

 alleged permit violations set forth in the Amended Complaint. These efforts have been ongoing

 since 2006 and Largo has acted in reliance upon the FDEP Consent Order as amended and

 enforced through the permitting process. In this regard, Largo has undertaken capital projects,

 modified procedures, implemented work programs, established budgets and utility rates and

 otherwise acted in good faith reliance upon the regulatory oversight of the FDEP. If the Plaintiffs

 have been engaged in environmental protection activities as alleged in the Amended Complaint

 and aware of the actions taken by the FDEP and Largo, then their delay in bringing this action is

 inexcusable and detrimental to Largo and its utility customers and taxpayers. Further, the delay

 in bringing this action undermines the regulatory authority delegated to the FDEP which has

 been exercised in a diligent and ongoing manner. For these reasons, the Plaintiffs relief should be

 denied or limited.



                                                 19
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 20 of 22 PageID 259




                           FIFTEENTH AFFIRMATIVE DEFENSE

         Plaintiffs are barred from obtaining declaratory relief because Plaintiffs have or had a

 complete and adequate remedy at law. Further, this Court should not grant injunctive relief for

 this reason and as regulation of Largo’s subject systems by the FDEP and EPA is in the public

 interest.

                           SIXTEENTH AFFIRMATIVE DEFENSE

         The Complaint constitutes an impermissible collateral attack on the administrative

 enforcement and permitting actions of the FDEP.

             RESERVATION OF RIGHT TO AMEND WITH LEAVE OF COURT

         Largo asserts that it may have further and additional Affirmative Defenses which are not

 yet known, but which may become known through additional investigation and discovery, and to

 add any further counterclaims or cross-claims as necessary. The failure to identify and assert

 those affirmative defenses at this time should not be considered a waiver thereof.

         Respectfully submitted this 1st. day of March, 2021.


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                                                 20
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 21 of 22 PageID 260




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 electronically filed with the Court’s CM/ECF system, which will provide service via electronic

 mail to the individuals listed on the attached service list on this 1st day of March, 2021.



                                               /s/ Brian A. Bolves
                                               Brian A. Bolves




                                                  21
Case 8:20-cv-01742-CEH-AAS Document 39 Filed 03/01/21 Page 22 of 22 PageID 261




                                     SERVICE LIST

                          Civil Case No. 8:20-cv-01742-CEH-AAS

      TAMPA BAY WATERKEEPER, OUR CHILDREN’S EARTH FOUNDATION and
                       SUNCOAST WATERKEEPER
                                  v.
                       CITY OF LARGO, FLORIDA

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                                             22
